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                             UNITED STATES DISTRICT COURT

            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                CASE NO. 3:17-cv-00939-WHA

               Plaintiff,                  PLAINTIFF WAYMO LLC’S
                                              ADMINISTRATIVE MOTION TO FILE
      vs.                                  UNDER SEAL PORTIONS OF WAYMO’S
                                              RESPONSES TO QUESTIONS FOR
 UBER TECHNOLOGIES, INC.;                  HEARING ON PLAINTIFF’S MOTION
    OTTOMOTTO LLC; OTTO TRUCKING              FOR PROVISIONAL RELIEF
 LLC,

               Defendants.

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                                                              CASE NO. 3:17-cv-00939-WHA
                                                     WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1            Pursuant to Civil L.R. 7-11 and 79-5, Plaintiff Waymo LLC (“Waymo”) respectfully

 2 requests to file under seal confidential information in portions of Waymo’s Responses To

 3 Questions For Hearing on Plaintiff’s Motion For Provisional Relief (“Waymo’s Responses”).

 4 Specifically, Waymo requests an order granting leave to file under seal the portions of the

 5 document as listed below:

 6                         Document                    Portions to Be Filed         Designating Party
                                                           Under Seal
 7             Waymo’s Responses                      Highlighted Portions       Waymo (green
                                                                                 highlighting);
 8
                                                                                 Uber1 (blue
 9                                                                               highlighting)

10

11 I.         LEGAL STANDARD
12            Civil Local Rule 79-5 requires that a party seeking sealing “establish[] that the document, or
13 portions thereof, are privileged, protectable as a trade secret or otherwise entitled to protection under

14 the law” (i.e., is “sealable”). Civil L.R. 79-5(b). The sealing request must also “be narrowly tailored

15 to seek sealing only of sealable material.” Id. In the context of non-dispositive motions, materials

16 may be sealed so long as the party seeking sealing makes a “particularized showing” under the “good

17 cause” standard of Federal Rule of Civil Procedure 26(c). Kamkana v. City & Cnty. of Honolulu, 447

18 F.3d 1172, 1180 (9th Cir. 2006) (quoting Foltz v. State Farm Mutual Auto Insurance Co., 331 F.3d
19 1122, 1135, 1138 (9th Cir. 2003)). Both the California Uniform Trade Secrets Act and the Defend

20 Trade Secrets Act provide for maintaining the confidentiality of alleged trade secrets. Cal. Civ. Code

21 § 3426.5 (“In an action under this title, a court shall preserve the secrecy of an alleged trade secret by

22 reasonable means, which may include . . . sealing the records of the action[.]”); 18 U.S.C. § 1835(a)

23 (“[T]he court shall enter such orders and take such other action as may be necessary and appropriate to

24 preserve the confidentiality of trade secrets[.]”).

25 I.         THE COURT SHOULD SEAL WAYMO’S CONFIDENTIAL INFORMATION
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27   1
         “Uber” means Uber Technologies, Inc., Ottomotto LLC, and Otto Trucking LLC, collectively.
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 1          The Court should seal the portions of Waymo’s Responses (portions highlighted green)

 2 identified by Waymo in the table above. Waymo seeks to file this information under seal because it

 3 discloses Waymo’s trade secrets and confidential business information. See Declaration of Jordan

 4 Jaffe (“Jaffe Decl.”), ¶¶ 3-5. Courts have determined that trade secret information merits sealing.

 5 Music Grp. Macao Commercial Offshore Ltd. v. Foote, No. 14–cv–03078–JSC, 2015 WL 3993147, at

 6 *1 (N.D. Cal. June 30, 2015) (quoting Kamakana, 447 F.3d at 1179); see also Brocade Commc’ns

 7 Sys., Inc. v. A10 Networks, Inc., No. C 10-3428 PSG, 2013 WL 211115, at *1, *3 (N.D. Cal. Jan. 17,

 8 2013) (granting request to seal document that “consists entirely of descriptions of Brocade’s trade

 9 secrets.”). Confidential business information that, if released, may “harm a litigant’s competitive

10 standing” also merits sealing. See Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598-99 (1978).

11 Waymo seeks to seal confidential business information and trade secret information that fit squarely

12 within these categories. Jaffe Decl. ¶¶ 3-5. Waymo maintains this information as a trade secret (see

13 Dkt. 25-31) and ensures the information remains secret with strict secrecy and security protocols (see

14 Dkt. 25-47; Dkt. 25-49.). See Jaffe Decl. ¶ 4. Waymo has narrowly tailored its requests to only

15 information meriting sealing. Id. ¶ 5. In fact, both Music Grp. and Brocade found the confidential

16 information at issue in those cases met the heightened “compelling reasons” standard for sealing.

17 Music Grp., 2015 WL 3993147, at *1; Brocade, 2013 WL 211115, at *1, *3. The information that

18 Waymo seeks to seal, therefore, also meets this heightened standard. The disclosure of Waymo’s
19 trade secret and confidential business information would harm Waymo (Jaffe Decl. ¶ 4), and, thus, the

20 Court should grant Waymo’s administrative motion to seal.

21 II.      UBER’S CONFIDENTIAL INFORMATION
22          Waymo only seeks to seal the portions of Waymo’s Responses (highlighted blue) as identified

23 in the table above, because Waymo believes such information is considered confidential or non-public

24 by Uber. Jaffe Decl. ¶ 6. Waymo takes no position as to the merits of sealing any Uber designated

25 material, and expects Uber to file a declaration in accordance with the Local Rules.

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                                                                 WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1 II.      CONCLUSION
 2          In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the

 3 above listed documents accompany this Administrative Motion. For the foregoing reasons,

 4 Waymo respectfully requests that the Court grant Waymo’s administrative motion to file under

 5 seal.

 6

 7 DATED: May 2, 2017                          QUINN EMANUEL URQUHART & SULLIVAN,
                                               LLP
 8
                                                By /s/ Jordan Jaffe
 9
                                                   Jordan Jaffe
10                                                 Attorneys for WAYMO LLC

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                                                               WAYMO’S ADMINISTRATIVE MOTION TO SEAL
